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 7

 8                              UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10
                                                          )    CASE NO. 3:20-cv-07358-MMC
11                                                        )
     BRENDA BARROS,                                       )
12                                                        )
     Plaintiff,                                           )    [PROPOSED] ORDER GRANTING
13                                                        )    MOTION BY PLAINTIFF BARROS TO
                                                          )    FILE A NOTICE OF VOLUNTARY
14                                                        )    DISMISSAL
                                                          )
15   vs.                                                  )
                                                          )
16                                                        )
     CITY AND COUNTY OF SAN                               )
17   FRANCISCO,                                           )
                                                          )
18                                                        )    Judge: The Honorable Maxine M. Chesney
                                                          )    Dept: Courtroom 7 - 9th Floor
19           Defendants.                                  )    Date: June 18, 2021
                                                          )    Time: 9:00 a.m.
20                                                        )    ____________________________

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     Barros v. City & County of San Francisco, Case No, 3:20-cv-07358-MMC
     Order on Motion for Leave to File Voluntary Dismissal -
       Case 3:20-cv-07358-MMC Document 46 Filed 05/11/21 Page 2 of 2



 1           The motion by Plaintiff Brenda Barros for leave to file a Notice of Dismissal

 2   came on for hearing as scheduled. Upon review of the moving, opposing and reply

 3   papers and following oral argument, the Court makes the following order:

 4           [ ] The motion by Plaintiff Brenda Barros for leave to file a Notice of Dismissal

 5           is granted.

 6           [ } The present action is hereby order dismissed without prejudice.

 7                                                      IT IS SO ORDERED

 8   Date:

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10
                                                        The Honorable Maxine M. Chesney
11                                                      United States District Court Judge

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     Barros v. City & County of San Francisco, Case No, 3:20-cv-07358-MMC
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